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4
     Attorney for Defendant
5    JAMIE RAMON FUENTES MARTINEZ

6
                          IN THE UNITED STATES DISTRICT COURT
7
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,            )   Case No.: 2:15 CR 140 MCE
10                                        )
                      Plaintiff,          )   STIPULATION AND ORDER CONTINUING
11                                        )   JUDGMENT AND SENTENCING
     vs.                                  )
12                                        )   Date: December 13, 2018
     JAMIE RAMON FUENTES MARTINEZ,        )   Judge: Hon. Morrison C. England, Jr.
13                                        )   Time: 10:00 a.m.
                      Defendant.          )
14                                        )

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16         The parties hereby stipulate the following:

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           1. Judgment and sentencing in this matter was previously set for
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             October 18, 2018.   The defense requests the date for judgment and
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             sentencing be continued from October 18, 2018 to December 13, 2018
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             at 10:00 a.m.   Assistant U.S. Attorney Paul A. Hemesath has been
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             advised of this request and has no objection.   U.S. Probation has
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             also been advised of this request.   The parties request the Court
23
             adopt the following schedule pertaining to the presentence report:
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             Judgment and Sentencing date:                                12/13/18
25
             Reply, or Statement of Non-Opposition:                       12/6/18
26
             Motion for Correction of the Presentence Report
27           Shall be filed with the Court and served on the
             Probation Officer and opposing counsel no later
28           than:                                                        n/a
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1
               The Presentence Report shall be filed with the
2              Court and disclosed to counsel no later than:               n/a

3              Counsel’s written objections to the Presentence
               Report Shall be delivered to the probation officer
4              and opposing Counsel no later than:                         n/a

5              The Presentence Report shall be filed with the
               Court And disclosed to counsel no later than:               n/a
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7

8    Dated: October 12, 2018                      /S/ John R. Manning
                                                  JOHN R. MANNING
9                                                 Attorney for Defendant
                                                  Jamie Ramon Fuentes Martinez
10

11   Dated: October 12, 2018                      McGregor W. Scott
                                                  United States Attorney
12
                                                  by: Paul A. Hemesath
13                                                PAUL A. HEMESATH
                                                  Assistant United States Attorney
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16                                        ORDER

17        IT IS SO ORDERED.

18   Dated:   October 16, 2018

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